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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

CHRISTOPHER BEATY, JR. et al.,                    :
              Plaintiffs,                         :
                                                  :
           v.                                     :          Civ. No. 21-1617
                                                  :
DELAWARE COUNTY d/b/a                             :
FAIR ACRES GERIATRIC CENTER,                      :
               Defendant.                         :

                                             ORDER

       Plaintiffs Christopher Beaty, Jr. and Nichole Garcia—children of Decedent Christopher D.

Beaty and co-administrators of his estate—charge that Fair Acres Delaware County d/b/a Fair

Acres Geriatric Center caused their father’s death through its lax response to the COVID-19

pandemic. (Doc. No. 1, Compl.) In August 2021, I denied Fair Acres’ Motion to Dismiss,

rejecting Fair Acres’ arguments that it has statutory immunity and that Plaintiffs failed to plead a

basis for municipal liability, and deferring my ruling on whether Plaintiffs can bring a § 1983

wrongful death action. (Doc. Nos. 9, 12.) Fair Acres relies on substantially the same arguments

in its Motion for Summary Judgment, which I will grant as to Plaintiffs’ wrongful death action and

otherwise deny. (Doc. No. 32.)

       The Parties are familiar with the facts and procedural history of this case. I have construed

the record most favorably to Plaintiffs and resolved all factual disputes in their favor. See Hugh

v. Butler Cnty. Fam. YMCA, 418 F.3d 265, 267 (3d Cir. 2005); Celotex Corp. v. Catrett, 477 U.S.

317, 322 (1986); Fed. R. Civ. P. 56(c).




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       I.      PREP Act Immunity

       First, Fair Acres urges (once again) that liability is precluded under the Public Readiness

and Emergency Preparedness Act, which provides immunity from suit for persons and entities that

take “countermeasures” to prevent COVID-19:

       [A] covered person shall be immune from suit and liability under Federal and State
       law with respect to claims for loss caused by, arising out of, relating to, or resulting
       from the administration to or the use by an individual of a covered countermeasure
       if a declaration under subsection (b) has been issued with respect to such
       countermeasure.

42 U.S.C.A. § 247d-6d(a)(1). To trigger the immunity provision, a plaintiff must allege “a causal

relationship” between the harm and “the administration or use by an individual of a covered

countermeasure.” 42 U.S.C. 247d-6d(a)(2)(B). The term “covered countermeasure” includes “any

antiviral, any other drug, any biologic, any diagnostic, [or] any other device . . . used to treat,

diagnose, cure, prevent, or mitigate COVID-19,” and does not encompass “social distancing,

quarantining, [or] lockdowns.” 85 Fed. Reg. 15202; Est. of Maglioli v. Andover Subacute Rehab.

Ctr. I, 478 F. Supp. 3d 518, 533 (D.N.J. 2020).

       Generally, a defendant’s failure to take countermeasures does not fall within the scope of

the Act’s protection—unless the failure is “paired closely with an act of administration [of a

countermeasure] to another.” Goldblatt v. HCP Praises Village KS OPCO LLC, 516 F. Supp. 3d

1251, 1262 (D. Kan. 2021); see also Lyons v. Cucumber Holdings, LLC, 520 F. Supp. 3d 1277,

1285-86 (C.D. Cal. 2021) (“[P]ursuant to the HHS Secretary's December 3, 2020 Amendment,

there is only immunity for ‘inaction claims’ when the failure to administer a covered

countermeasure to one individual has ‘a close causal relationship’ to the administration of that

covered countermeasure to another individual.”).         PREP Act immunity thus extends to a




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defendant’s inaction only when the inaction resulted from the “[p]rioritization” or “purposeful

allocation” of “limited Covered Countermeasures.” 85 Fed. Reg. at 79,197.

       Here, Plaintiffs attribute Decedent’s death to Fair Acres’ inaction: specifically, its

“fail[ure] to have adequate policies and practices in place for proper testing of the residents” and

its failure to isolate Decedent promptly from his symptomatic roommates. (Doc. No. 34 at 9; see

also Doc. Compl. at ¶ 71(t) (accusing Fair Acres of “failing to routinely test residents and staff for

COVID-19 so as to properly separate and isolate infected individuals from those who had not been

exposed to the virus”).)

       Fair Acres cannot obtain immunity for its alleged failure to implement routine testing

because no record evidence even suggests—let alone establishes—that this failure resulted from

the “purposeful allocation” of “limited” test resources. Nor can Fair Acres claim immunity for its

alleged failure to quarantine Decedent or his roommates promptly because quarantining is not a

“covered countermeasure.” See Est. of Maglioli, 478 F. Supp. 3d at 533.

       Because the PREP Act does not apply here, Fair Acres’ exhaustion and preemption

arguments necessarily fail.

       II.      Section 1983 Action

       Sufficient record evidence supports Plaintiffs’ municipal liability action.

       A § 1983 plaintiff “must first allege action under the color of state law and a violation of a

federally protected law.” Robinson v. Fair Acres Geriatric Center, 722 F. App’x 194, 1987 (3d

Cir. 2018); Grammer v. John J. Kane Regional Centers-Glen Hazel, 570 F.3d 520, 532 (3d Cir.

2009) (“42 U.S.C. § 1983 is a vehicle for imposing liability against anyone who, under color of

state law, deprives a person of rights, privileges, or immunities secured by the Constitution and

laws.”). Plaintiffs have met this threshold requirement by alleging that Fair Acres (owned and



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operated by Delaware County) violated the Federal Nursing Home Reform Act and its

implementing regulations, which unambiguously “confer individual rights that are presumptively

enforceable through § 1983.” See id. at 532 (various FNHRA provisions create enforceable

rights); see also Health & Hosp. Corp. of Marion Cnty. v. Talevski, No. 21-cv-806, 2023 WL

3872515, at *3 (U.S. June 8, 2023) (holding that FNHRA’s chemical restraints and

transfer/discharge provisions confer enforceable rights).

       Because Fair Acres cannot be held liable for its employees’ actions under a respondeat

superior liability theory, Plaintiffs must provide evidence that a Fair Acres policy, custom, or a

failure to implement a policy caused the alleged FNHRA violations. Natale v. Camden County

Correctional Facility, 318 F.3d 575, 585 (3d Cir. 2003); Monell v. Dep't of Social Servs. of City

of New York, 436 U.S. 658, 690 (1978). Monell liability may attach “where the policymaker has

failed to act affirmatively at all, [providing] the need to take some action to control the agents of

the government is so obvious, and the inadequacy of existing practice so likely to result in the

violation of constitutional rights, that the policymaker can reasonably be said to have been

deliberately indifferent to the need.” City of Canton, Ohio v. Harris, 489 U.S. 378, 390 (1989)

(internal quotations and citations omitted).

       Here, there is sufficient evidence from which a jury could reasonably find that Fair Acres:

(1) knew that Decedent’s comorbidities increased his risk for severe COVID-19 outcomes; (2)

understood that frequent testing and prompt isolation of symptomatic residents would reduce that

risk; and (3) nonetheless failed to take appropriate measures to protect Decedent from contracting

COVID, which caused his death. (See, e.g., Doc. No. 34 Ex. F (Dep. Tr. of Lynn Powell, Fair

Acres nurse) at 117:4-12 (“populations of nursing home[s] are at high risk for infection, serious

illness, and death of COVID”), Ex. M (report of Mark Shepard, M.D.) (“Not implementing the



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Department of Health’s recommendations/guidelines for isolation of residents or their roommate

where one is suspected of suffering from COVID until June 22 demonstrated a reckless

indifference to the safety of a patient such as [Decedent].”).)

        Because a jury could thus infer that Fair Acres was deliberately indifferent to the risk

Decedent faced, Plaintiffs’ § 1983 claim survives summary judgment.

        III.    Wrongful Death Action

        Finally, Fair Acres urges that Plaintiffs cannot seek remedies under Pennsylvania’s

Wrongful Death Act for their § 1983 claim. I agree.

        A § 1983 plaintiff “cannot sue for the deprivation of another’s civil rights.” O’Malley v.

Brierley, 477 F.2d 786, 789 (3d Cir. 1973). Here, Plaintiffs properly assert their father’s § 1983

claims on their father’s behalf in their representative capacities as co-administrators of his estate.

See Endl v. New Jersey, 5 F. Supp. 3d 689, 696 (D.N.J. 2014) (“[A] plaintiff who acts in a

representative capacity may assert claims of the deceased under Section 1983.”).

        Because § 1983 is “silent on the method of redress,” Plaintiffs seek damages (in part)

through a wrongful death action. See 42 U.S.C. § 1988(a) (allowing for state law to provide

appropriate redress for federal law violations). This position, however, “conflates the provisions

of federal and state statutes that set out different remedies to redress different injuries for different

claimants.” Massey v. Fair Acres Geriatric Ctr., 881 F. Supp. 2d 663, 669 (E.D. Pa. 2012)

(emphasis added).

        In allowing a decedent’s family members to “recover damages for the death of an

individual caused by the wrongful act or neglect or unlawful violence or negligence of another,” a

wrongful death action provides a mechanism for family members to vindicate their own rights—

not the rights of the deceased. 42 Pa. Cons. Stat. § 8301. See Massey v. Fair Acres Geriatric Ctr.,



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881 F. Supp. 2d 663, 670 (E.D. Pa. 2012) (an action under the Pennsylvania Wrongful Death

Statute “does not compensate the decedent—it compensates the survivors for damages which they

have sustained as a result of the decedent's death.”) (internal quotation marks omitted).

Accordingly, these § 1983 Plaintiffs cannot seek redress for violations of their father’s rights

through a wrongful death action. See Alexander v. Fair Acres Geriatric Center, No. 20-2550, 2023

WL 4166456, at *6-7 (E.D. Pa. June 23, 2023) (granting summary judgment on a § 1983 wrongful

death claim because a “wrongful death action is not a continuation of the rights of the deceased,

but rather is a new cause of action to allow the family members of the deceased to vindicate their

rights”); Massey, 881 F. Supp. 2d at 670 (the plaintiff could not bring a § 1983 wrongful death

claim because “remedies for a wrongful death do not afford redress for deprivations of [the

decedent's] federal rights”).

       I will thus grant Fair Acres’ motion for summary judgment on Plaintiffs’ § 1983 wrongful

death claim.

                                 *              *              *

       AND NOW, this 10th day of August, 2023, upon consideration of Defendant’s Motion for

Summary Judgment and related submissions (Doc. Nos. 32, 34, 38, 39), it is hereby ORDERED

that the Motion (Doc. No. 32) is GRANTED in part. Judgment is entered for Defendant as to

Count I (Plaintiffs’ § 1983 wrongful death claim), which is dismissed. Defendant’s Motion is

otherwise DENIED.



                                                                   AND IT IS SO ORDERED.

                                                                     /s/ Paul S. Diamond
                                                                     _______________________
                                                                     Paul S. Diamond, J.



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